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                             EXHIBIT 8
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          UNITED STATES PATENT AND TRADEMARK OFFICE


           BEFORE THE PATENT TRIAL AND APPEAL BOARD


                           VITAL CONNECT, INC.,
                                 Petitioner,

                                         v.

                         BARDY DIAGNOSTICS, INC.,
                               Patent Owner.


                                IPR2023-00381
                               Patent 11,051,743



              PATENT OWNER’S PRELIMINARY RESPONSE
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                                EXHIBIT LIST

  Exhibit No.   Document
  2001          Declaration of Dr. Per Reinhall, Ph.D.
  2002          Curriculum Vitae of Dr. Per Reinhall, Ph.D.
  2003          Statutory Disclaimer regarding U.S. Patent No. 11,051,743
  2004          U.S. Patent No. 8,116,841
  2005          U.S. Pub. No. 2015/0023873
  2006          U.S. Patent No. D639,437
  2007          U.S. Patent No. 8,285,370




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        Patent Owner Bardy Diagnostics, Inc. (“Patent Owner”) submits the following

  patent owner preliminary response pursuant to 37 C.F.R. § 42.107 in response to the

  petition for inter partes review (“Petition”) filed by Vital Connect, Inc.

  (“Petitioner”) concerning Patent No. 11,051,743 (“the ’743 Patent”).

  I.    INTRODUCTION

        Petitioner has failed to meet its burden for at least three reasons, so the Board

  can and should deny institution. First, both of Petitioner’s grounds for

  unpatentability rely on prior art that is the same, or substantially the same, as art

  considered during the prosecution of the ’743 Patent. Petitioner simply ignores this

  fact and does not explain—as it must under the Board’s precedential decision in

  Advanced Bionics—why the Office committed a material error when previously

  considering this art. Petitioner not only fails to address the issue, it makes an

  incorrect (or at least incomplete) statement that “[n]one of the references on which

  these grounds are based was applied by the Examiner during prosecution of the ’743

  patent.”

        Petitioner’s failure to justify its use of substantially similar art is inexcusable.

  Almost a half year before the Petition was filed, Patent Owner informed Petitioner

  that Petitioner’s primary asserted art was cumulative of the earlier art, so Petitioner

  was aware of the issue, but chose not to address it in the Petition. Consequently, the

  Board should exercise its discretion under 35 U.S.C. § 325(d) and deny institution



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  of the Petition given (i) the substantial similarity between the art asserted in the

  Petition and previously considered art and (ii) Petitioner’s failure to show material

  error by the Office under the prior consideration.

        Second, Petitioner provides no explanation or support for its overly broad

  definition of a person or ordinary skill in the art that encompasses non-engineers

  who have no experience designing devices. Petitioner merely asserts its definition.

  Providing evidence in support of the level of ordinary skill in the art was mandatory

  here because the Petition brings only obviousness grounds, which must be assessed

  through the lens of the proper artisan. Yet, the Petition does what the Board has

  repeatedly warned against: it relies on nothing more than conclusory statements and

  attorney arguments on key factual issues. Because Petitioner lacks evidence on a key

  factual issue underlying its obviousness grounds, Petitioner is not likely to prevail

  with respect to any challenged claim, so the Board should deny institution under 35

  U.S.C. § 314(a).

        Third, Petitioner’s definition of a person of ordinary skill in the art is not

  merely unsupported, it is wrong. Under the correct definition, there is (among other

  problems) a total lack of evidence on essential aspects of Petitioner’s asserted

  unpatentability grounds. In particular, Petitioner only asserts obviousness theories,

  so it needs credible evidence that a person of ordinary skill would have had reasons

  to combine the cited art.


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        It attempts to provide that evidence via the declaration of Dr. Joseph Akar,

  but he is incapable of providing credible testimony because he is not, and never was,

  a person of ordinary skill in the art. Dr. Akar is a physician who lacks an engineering

  education (or equivalent knowledge) and has never designed a medical device, let

  alone a device in the field of the ’743 Patent. Petitioner has no other evidence

  showing why a person of ordinary skill would modify the cited references, leading

  to an outright failure of proof. Consequently, the Board should deny institution under

  35 U.S.C. § 314(a) because Petitioner has not, and cannot, show a reasonable

  likelihood of establishing unpatentability on any challenged claim.

  II.   THE CHALLENGED PATENT

        The ’743 Patent, titled “Electrocardiographic Patch,” claims inventions in the

  general field of electrocardiographic monitoring and the particular field of

  electrocardiography patches. (Ex. 1001 at 1:21–23.) An electrocardiogram (“ECG”)

  reports the electrical signals of a patient’s heart and is used by physicians to diagnose

  heart problems. (See id. at 1:27–49.) Conventionally, ECGs are generated by ECG

  machines connected to 12 electrical leads that are placed in “well-established

  traditional chest locations.” (See id. at 1:31–38.) Depending on the application,

  ECGs may be recorded over a wide variety of time periods, potentially for just a few

  minutes or up to 30 days. (See id. at 1:49–52, 1:60–2:2.) Long-term ECG monitoring

  can provide a variety of benefits relative to short-term monitoring, but the design of



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  ECG monitoring devices—which can be “arduous to employ, cumbersome to the

  patient, and excessively costly”—can prevent successful long-term monitoring. (See

  id. at 1:60–2:8.)

         Holter monitors are the conventional solution for outside-the-clinic, portable

  ECG monitoring, although their design typically limits their use to 48 hours in

  practice. (See id. at 2:36–41; see also id. at 2:51–53.) The following shows a

  representative Holter monitor on a patient:




  (Ex.   2001     ¶   53    (citing   https://commons.wikimedia.org/wiki/File:Alex_

  CM4000.jpg).) The ’743 Patent also explains that “wearable stick-on monitoring

  devices” had been developed and commercialized into two products sold under the

  ZIO brand. (Ex. 1001 at 2:58–62.) Depending on the product, these devices could

  be worn for up to 14 or 30 days. (Id. at 2:63–67.)

         The ’743 Patent identified several deficiencies in these products and noted

  that there “remains a need for an extended wear continuously recording ECG

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  monitor practicably capable of being worn for a long period of time in both men and

  women and capable of recording atrial signals reliably.” (Id. at 3:36–39.) It identified

  the need for a device with mechanical and electrical design innovations that could

  overcome the following problems:

        • Maintaining the electrodes in a position to receive high-quality ECG

            signals despite the “various compressional, tensile, and torsional forces”

            imparted on the device, including from patient movements.

        • Allowing for sufficient adhesion of the device to support the full weight of

            the device, but still allowing removal or relocation of the device during the

            monitoring period, and without causing skin irritation.

        • Allowing the patient to take baths or engage in other activities that could

            damage the electronics.

        • Enabling placement of the electrodes in the best location for a given

            patient, even if anatomy (i.e., breasts or pectorals) would otherwise make

            that placement challenging.

        • Having sufficient battery power and sufficient memory to enable detailed,

            long-term monitoring without undermining the goals above.

  (See id. at 2:11–3:18.)

        The ’743 Patent describes an advancement in wearable-monitor technology

  that meets the above challenges via a two-part design. The “monitor” (the overall


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device) consists of a “patch” portion and a “recorder” portion. (Ex. 1001 at 5:44–47,

Figs. 4–6.)



                        Monitor
                 (Patch with Recorder)




                         Recorder




                           Patch




(Id. at Figs. 4–6; 5:15–21.)

      The inventions of the ’743 Patent move the battery away from the memory

that the battery powers (namely, away from the recorder hardware), a design that

solves challenges concerning the various compressional, tensile, and torsional forces

on the device; vulnerability of electronics; and sufficient battery life. (See Ex. 1001

at 12:58–13:19.) For example, this placement “lowers the center of gravity of the

overall wearable monitor 12 and thereby helps to minimize shear forces and the

effects of movements of the patient and clothing.” (Id. at 12:62–66.) This also allows


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for the use of an adhesive that is both a hydrocolloid and applied to only a portion

of the monitor’s patient-contacting surface, which results in a design that is non-

irritating to the skin while allowing the device to flex in response to compressional

and torsional forces. (Id. at 10:34–42.)

III.   THE PETITION

       The Petition argues two grounds for unpatentability, namely that the claims

of the ’743 Patent are obvious in light of (i) the combination of International Pub.

No. WO 2010/104,952 (“Mazar”) and Patent No. 11,116,447 (“Yang”) and (ii) the

combination of Patent App. Pub. No. 2011/0077497 (“Oster”) and Yang. (See

Petition at 5.)

       Although Petitioner challenges Claims 1–20 of the ’743 Patent, only Claims

11–20 are relevant to the Board’s consideration of the Petition because Patent Owner

statutorily disclaimed Claims 1–10 (Ex. 2003). “The patent owner may file a

statutory disclaimer” and “[n]o inter partes review will be instituted based on

disclaimed claims.” 37 CFR § 42.107.

       Petitioner asserts that “[n]one of the references on which these grounds are

based was applied by the Examiner during prosecution of the ’743 patent.” (Petition

at 5.) This quote appears to be crafted to avoid admitting that, during prosecution of

the ’743 Patent, the Office considered Oster, considered Yang’s parent application

(with nearly identical disclosures to Yang), and considered another patent by



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inventor Mazar (with substantively the same disclosures as Mazar). (See Petition at

5.) The Petition does not address why the Board should evaluate either of the

Petition’s grounds given that the Office has already considered art that is the same,

or substantially the same, as the art relied upon in the Petition. (See id.)

      The Petition exclusively brings obviousness grounds, so Petitioner raises—as

it must—several purported reasons why a person of ordinary skill in the art would

have modified Mazar and/or Oster in view of the disclosures of Yang. (See, e.g.,

Petition at 5, 26–29.) To support its conclusions that a person of ordinary skill would

have such reasons to combine, Petitioner relies exclusively on the testimony of Dr.

Joseph Akar. (E.g., id. at 26–29; Ex. 1002 ¶¶ 91–104.)

      Dr. Akar is a physician who teaches at a college of medicine, lacks

engineering education (or equivalent work experience), and has never designed any

medical devices, including devices in the field of cardiac monitoring. (Ex. 1002 ¶¶

5–7, 22.) Petitioner apparently justifies its reliance on Dr. Akar’s testimony by

asserting that a person with no experience designing medical devices and no

engineering education qualifies as a person of ordinary skill in the field of the ’743

Patent. (Petition at 5–6.) Neither Petitioner nor Dr. Akar provides any explanation

or evidence in support of their conclusory definition of a person of ordinary skill.

(See id.; Ex. 1002 ¶ 43.)




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IV.   INSTITUTION SHOULD BE DENIED BECAUSE PETITIONER
      RELIES ON PREVIOUSLY CONSIDERED ART WITHOUT
      SHOWING A MATERIAL ERROR

      The Board should deny institution under 35 U.S.C. § 325(d) because the

Petition is devoid of any evidence justifying Petitioner’s implicit request that the

Board reconsider prior art disclosures that were previously considered by the Office.

      Under 35 U.S.C. § 325(d), the Board may deny institution of a proceeding if

the petitioner challenges the patent on matters previously presented to the Office.

Advanced Bionics, LLC v. Med-EL Elektromedizinische Gerate GMBH, IPR2019–

01469, 2020 WL 740292, at *2 (PTAB Feb. 13, 2020) (precedential). Denial is

proper if (1) the petitioner presents the same, or substantially the same, prior art or

arguments previously presented to the Office, and (2) the petitioner fails to

demonstrate that the Office erred in a manner material to the patentability of the

challenged claims. See id. at *2. Under this framework, the Board may look to the

non-exclusive list of factors listed in Becton, Dickinson and Co. v. B. Braun

Melsungen AG, IPR2017–01586, 2017 WL 6405100 (PTAB Dec. 15, 2017)

(precedential in part) (“BD Factors”) to determine whether the Advanced Bionics

test is satisfied. See Advanced Bionics, 2020 WL 740292 at *4, *4 n.10. If the test is

met, the Board will exercise its discretion not to institute, which embodies the

commitment to defer to “previous Office evaluations of the evidence of record unless

material error is shown.” Id. at *3.



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      As explained further below, even though Petitioner had the burden of

establishing that the Office materially erred when examining the ’743 Patent, the

Petition is completely silent on the § 325(d) issue. (See generally Petition.) Indeed,

Petitioner does not identify any error (much less a material error) during the

examination of the ’743 Patent, even though (i) the Petition relies on Mazar, Yang,

and Oster as the basis for its unpatentability grounds and (ii) the Office considered

the same, or substantially similar, art as those references during the ’743 Patent’s

prosecution history. (See generally id.) Petitioner’s omission is particularly troubling

given that Patent Owner informed Petitioner that the Office had granted the ’743

Patent despite considering substantially similar prior art to Petitioner’s primary

reference. (See Ex. 1018 at 2.)

      A.     Petitioner Relies on Identical, or Substantially Similar, Art as the
             Office Considered During Examination.

             1.     Relevant legal principles.

      Under the first prong of the Advanced Bionics framework, the Board

determines whether the prior art (or arguments) are the same or substantially the

same by considering the similarities and material differences between the asserted

art and the prior art involved during examination. Advanced Bionics, 2020 WL

740292, at *4, *4 n.10. In doing so, the Board may consider the cumulative nature

of the art asserted in the petition and the prior art evaluated during examination, the




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extent of the overlap between arguments made during examination, and the manner

in which the petitioner relies on the prior art (BD Factors a, b, and d). Id.

      Previously presented prior art includes art made of record by the examiner,

and art provided to the Office by an applicant, such as on an Information Disclosure

Statement (“IDS”). Id. at *3. However, if the asserted art is not the same as

previously presented art, then the Board evaluates whether the asserted art “discloses

substantially the same information,” such that it is substantially the same as

previously presented prior art. See id. at *6–7.

      Further, the Board considers intrinsic evidence (such as a certification from

the examiner) to determine if, and to what extent, the Office has already reviewed

and considered the prior art. See Nespresso USA, Inc. v. K-Fee Sys. GmBH,

IPR2021–01223, 2022 WL 214445, at * 6 (PTAB Jan. 18, 2022). For instance, in

Nespresso, the Board found that the examiner considered the references in the IDS

because the examiner marked the IDS with the statement “considered except where

lined through,” certified this statement with their initials, and none of the references

were “lined through.” Id. at *6; see also M.P.E.P. § 609.05(b) (instructing examiners

to indicate whether information on an IDS has been considered by stamping each

page with the phrase “All references considered except where lined through” and

then lining through only those references not considered).




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             2.     Oster, Yang’s nearly identical parent, and Mazar’s
                    substantive equivalent were all considered previously.

      Oster, Yang, and Mazar—the references asserted in one or both of the

Petition’s two asserted grounds of unpatentability—are the same, or the same for all

material purposes, as art previously considered by the Office, and the disclosures

relied upon by Petitioner are all substantively the same as disclosures in the

previously presented art.

      Oster was presented to the Office via an IDS and considered by the examiner.

(See Ex. 1007 at 87:114.) Notably, the examiner certified that all references listed in

the IDS were considered “except where lined through,” and Oster was not lined

through. (Id.) Therefore, Oster was previously reviewed and considered by the

Office. See Nespresso, 2022 WL 214445, at * 6; M.P.E.P. § 609.05(b).

      Yang itself was not before the Office during examination of the ’743 Patent,

but Yang is a continuation of US Patent No. 9,277,864 (“Yang Parent”) (Ex. 1019),

which was presented to the Office via an IDS and considered by the examiner. (See

Ex. 1005 at Related U.S. Application Data; Ex. 1007 at 39:13.) Practically by

definition, parent and child patents are substantially the same because the patents

have nearly identical specifications and the exact same figures. See Google LLC v.

Kewazinga Corp., IPR2021–00527, 2021 WL 3746361, at *6 (PTAB Aug. 24,

2021); see also M.P.E.P. § 201.7 (“The disclosure presented in the continuation must

not include any subject matter which would constitute new matter . . . .”). Indeed,

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Yang and the Yang Parent have a nearly identical specification and the figures in

both patents are identical. (Compare Ex. 1005 Specification and Figures with Ex.

1019 Specification and Figures). For example, and for the avoidance of doubt, the

following comparison of Yang material cited by Petitioner with corresponding Yang

Parent disclosures are representative of the references’ sameness:

                 Yang                        Yang Parent Considered by Examiner
         Ex. 1005 at 2:24–50                         Ex. 1019 at 2:16–43
       Ex. 1005 at 3:2–4, 63–4:2                Ex. 1019 at 2:62–64, 3:57–63
           Ex. 1005 at 4:2–4                         Ex. 1019 at 3:63–65
         Ex. 1005 at 4:39–42                         Ex. 1019 at 4:32–35
         Ex. 1005 at 2:48–55                         Ex. 1019 at 2:41–48
         Ex. 1005 at 4:28–38                         Ex. 1019 at 4:21–31
         Ex. 1005 at 5:41–53                         Ex. 1019 at 5:33–45
         Ex. 1005 at 4:67–5:4                       Ex. 1019 at 4:59–4:63
         Ex. 1005 at 5:23–31                         Ex. 1019 at 5:15–23




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Notably, as with Oster, the examiner also certified that all the references listed in the

IDS were considered except where lined through, and the Yang Parent was not lined

through. (See Petition Ex. 1007 at 39:13.) Therefore, Yang is substantially the same

as, and cumulative with, the Yang Parent, which was previously reviewed and

considered by the Office during examination. See Nespresso, 2022 WL 214445, at *

6.

        Mazar was not presented to the Office during examination, but the Office

reviewed and considered US Patent No. 8,116,841 (“Mazar ’841”) (Ex. 2004)—

another patent with Scott Mazar as an inventor—that makes the same or substantially

the same disclosures as Mazar. (See Petition Ex. 1007 at 73:85.) Importantly, the

examiner certified that all the references listed in the IDS were considered except

where lined through, and Mazar ’841 was not lined through. (See id.)1



1
    In fact, the Examiner reviewed and considered eight other patents and patent

publications listing Scott Mazar as an inventor that make the same or substantially

the same disclosures as Mazar, including: US Patent App. Publ. No. 2009/0076336,

US Patent App. Publ. No. 2009/0076342, US Patent No. 8,591,430, US Patent App.

Publ. No. 2014/0012154, US Patent No. 8,412,317, US Patent App. Publ. No.

2013/0085347, US Patent No. 8,795,174, and US Patent No. 8,285,356. (See Ex.

1007 at 53:64, 74:92, 96, 75:100, 76:109, 83:71, 73, 86:103.)


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      Mazar and Mazar ’841 are substantially the same for all purposes relevant to

the Petition. This is clearly seen through a comparison of Mazar figures with the

Mazar ’841 figures:

            Mazar Figures                          Mazar ’841 Figures
             (Ex. 1003)                               (Ex. 2004)




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The only differences between the two patents’ figures relate to visual indicators and

symbols (element 163A in Mazar Fig. 1F1, see Ex. 1003 ¶ 116), which are not

relevant to the ’743 Patent. (See Ex. 1001 at Claims.) Therefore, Mazar is

substantially the same as Mazar ’841. See Advanced Bionics, 2020 WL 740292, at

*6–7 (holding the asserted art was substantially the same because it disclosed the

same component shape and configuration); see also Google, 2021 WL 3746361, at

*6 (finding the asserted art was substantially the same, in part, because it disclosed

the same figures).

      For the avoidance of doubt, Mazar ’841 provides the same or substantially the

same disclosures as each of Petitioner’s Mazar citations:

 Petitioner’s Proposed         Mazar Citation               Mazar ’841 Citation
 Element
 Element 1-PRE: an             Ex. 1003 ¶¶ 0002, 0098       Ex. 2004 at 1:53–60,
 electrocardiograph patch                                   8:11–25
 Element 1-A: a backing        Ex. 1003 ¶¶ 0093, 0098       Ex. 2004 at 7:19–37,
 comprising an elongated                                    8:11–25
 strip with a mid-section
 connecting two ends of
 the backing
 Element 1-B: an               Ex. 1003 ¶ 0098              Ex. 2004 at 8:11–25
 electrocardiographic
 electrode on each end of
 the backing to capture
 electrocardiographic
 signals
 Element 1-C: a flexible       Ex. 1003 ¶ 0100              Ex. 2004 at 8:46–54
 circuit comprising a pair
 of circuit traces
 electrically coupled to the


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 Petitioner’s Proposed         Mazar Citation            Mazar ’841 Citation
 Element
 electrocardiographic
 electrodes
 Element 1-D: a wireless       Ex. 1003 ¶¶ 0104–05       Ex. 2004 at 9:40–10:6
 transceiver to
 communicate at least a
 portion of the
 electrocardiographic
 signals
 Element 11-E: a battery       Ex. 1003 ¶¶ 0031, 0033,   Ex. 2004 at 5:15–16,
 on one of the ends of the     0064, 0094, 0113, 0145    7:8–11, 34–51, 11:30–33,
 backing                                                 19:22–35
 Element 11-F: a               Ex. 1003 ¶ 0167           Ex. 2004 at 9:4–18, 40–
 processor powered by the                                52, 16:27–30
 battery
 Element 11-G: memory          Ex. 1003 ¶¶ 0048, 0095,   Ex. 2004 at 7:53–65,
 electrically interfaced       0104                      9:40–52
 with the processor and
 operable to store samples
 of the
 electrocardiographic
 signals
 Claims 2 & 12: an             Ex. 1003 ¶¶ 0015, 0107    Ex. 2004 at 7:62–65,
 accelerometer provided                                  10:14–26
 on the backing.”
 Claims 3 & 13: a              Ex. 1003 ¶¶ 0048, 0095    Ex. 2004 at 7:53–65
 physiology sensor
 provided on the backing
 to measure body
 temperature
 Claims 4 & 14: each of        Ex. 1003 ¶ 0093           Ex. 2004 at 7:31–33
 the ends of the backing is
 rounded on an outer edge
 Claims 5 & 15: a              Ex. 1003 ¶¶ 0013–14,      Ex. 2004 at 7:53–65
 physiology and activity       0048, 0095
 sensor provided on the
 backing to measure one
 or more of heart rate,


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 Petitioner’s Proposed         Mazar Citation            Mazar ’841 Citation
 Element
 temperature, blood
 pressure, movement,
 sleep, footsteps, calories
 burned and estimated
 blood glucose level
 Claims 6 & 16: the            Ex. 1003 ¶¶ 0013, 0104,   Ex. 2004 at 9:40–52
 electrocardiographic          0197, 0199
 signals are converted to a
 different format and
 processed
 Claims 7 & 17: the            Ex. 1003 ¶¶ 0013, 0091,   Ex. 2004 at 6:26–7:4,
 formatted                     0104, 0197                9:40–52
 electrocardiographic
 signals are retrieved by
 one of a server, a client
 computer and a mobile
 device via the wireless
 transceiver
 Claims 8 & 18: the            Ex. 1003 ¶¶ 0122, 0133    Ex. 2004 at 12:35–55,
 electrodes are exposed on                               16:44–52
 a contact surface of the
 backing
 Claims 9 & 19: a              Ex. 1003 ¶0128            Ex. 2004 at 15:18–34
 hydrocolloid adhesive
 provided on at least a
 portion of a contact
 surface of the backing
 Claims 10 & 20: the           Ex. 1003 ¶0128            Ex. 2004 at 15:18–34
 hydrocolloid adhesive is
 provided on the ends of
 the backing, on the
 contact surface

Mazar is therefore substantially the same and cumulative of Mazar ’841, which was

previously reviewed and considered by the Office during examination of the ’743

Patent.

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      As noted above, Oster, Yang Parent, and Mazar ’841 were all previously

considered via the examiner’s certification that he had considered them, which—

given their similarity and substantial similarity to Oster, Yang, and Mazar—is

wholly sufficient to satisfy the first prong of the Advanced Bionics test. Advanced

Bionics, 2020 WL 740292, at *3. As numerous panels held after Advanced Bionics,

there is no requirement for the previously considered art to have been the basis of

rejection or other explicit, written analysis. E.g., Nespresso, 2022 WL 214445, at *6;

Roku, Inc. v. Universal Elecs., Inc., IPR2019-01619, 2021 WL 2123912, at *3

(PTAB May 25, 2021); Sony Interactive Entm’t LLC v. Terminal Reality, Inc.,

IPR2020-00710, 2020 WL 6065186, at *5 (PTAB Oct. 13, 2020). Thus, the

inclusion of Oster, Yang Parent, and Mazar ’841 on the lists of references certified

as considered by the examiner is sufficient to the meet the first prong of Advanced

Bionics.

      B.     Petitioner Failed to Offer Any Evidence that the Office Erred
             During Prosecution.

             1.    Relevant legal principles.

      Under the second prong of the Advanced Bionics framework, a petitioner must

demonstrate that the Office made a material error regarding examination to avoid

discretionary denial. See Advanced Bionics, 2020 WL 740292, at *3. A threshold

consideration is whether the petitioner sufficiently described how the examiner erred

in its evaluation of the asserted prior art (BD Factor e). Id. at *4 n.10. As noted in


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Section IV.A.2 above, the substantially similar art need not have been the subject of

a rejection, so if the record of the Office’s previous consideration is not well

developed or silent, then a petitioner may show the Office erred by overlooking

something persuasive (see BD Factors c, e, and f). Id. at 4. Examples of material

errors include circumstances when an examiner overlooked specific teachings in the

relevant prior art or if the examiner made an error of law (such as misconstruing a

claim term) that impacted the patentability of the challenged claims. Id. at *3 n.9.

      Where a petitioner fails to address the material-error requirement or otherwise

is silent on the Section 325(d) inquiry, the petitioner fails to meet its burden, and the

Board should deny institution. See, e.g., Wolfspeed, Inc. v. Trustees of Purdue Univ.,

IPR2022–00761, 2022 WL 16823522, at *6 (PTAB Nov. 8, 2022); Atrium Med.

Corp. v. Bard Peripheral Vasulcar, Inc., IPR2021–01197, 2022 WL 128799, at *10

(PTAB Jan. 10, 2022); Google, 2021 WL 3746361, at *8–9 ; Sony, 2020 WL

6065186, at *5 . Indeed, Atrium explained that “[h]aving searched the Petition, we

discern no express assertion that any error was committed by the Office,” such that

the “[p]etitioner leaves the Board to guess or develop its own theory on what error

may have been committed. 2022 WL 128799, at *10. “[S]uch speculation [is]

unwarranted.” Id. Moreover, mere articulation of an unpatentability ground in the

petition, without specific discussion of the supposed error in the prosecution history,

does not satisfy Advanced Bionics’ prong-two requirement that the petitioner


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demonstrate a material error. Advanced Bionics, 2020 WL 740292, at *3 (petitioner

does not establish a material error simply by disagreeing with the Office’s

conclusion regarding the prior art); see also Roku, 2021 WL 2123912, at *5.

             2.    Petitioner fails to address, let alone establish, a material
                   error by the Office when it previously considered the art.

      Petitioner plainly failed to establish a material error by the Office when it

previously considered Oster, Yang Parent, and Mazar ’841. Petitioner is completely

silent on the issue, as it outright ignores the Section 325(d) issue. It chose to stay

silent on the issue even though the Office’s prior consideration of similar art had

been raised by Patent Owner to Petitioner in correspondence many months before

the Petition was filed. Because Petitioner failed to make any showing that the Office

made a material error, its Petition should be denied. See Advanced Bionics, 2020 WL

740292, at *3 (explaining that if “the petitioner fails to make a showing of material

error, the Director generally will exercise discretion not to institute inter partes

review”).

      The Board has repeatedly denied institution when a petitioner fails to make

any showing that the examiner materially erred during prosecution. See e.g.,

Microsoft Corp. v. Almondnet, Inc., IPR2022–01319, Paper 9 at 10–11 (PTAB Jan.

30, 2023) (denying institution because the petitioner did not make any substantive

showing that the examiner erred); Becton, Dickinson, 2017 WL 6405100, at *8

(noting the petitioner did not point to any examiner error).

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      Here, Petitioner does not make any allegations that the examiner erred (much

less materially erred) when considering the asserted art during examination of the

’743 Patent. (See generally Petition.) Instead, Petitioner (wrongly) asserts that the

’743 Patent is obvious in light of Mazar and Yang, or Oster and Yang, without

explaining how the examiner made an error in ultimately arriving at the opposite

conclusion. (See generally id.) By failing to articulate how the examiner erred when

evaluating the asserted art, Petitioner is merely indicating that it disagrees with how

the examiner treated the prior art and therefore falls short of establishing that

institution is proper. See Roku, 2021 WL 2123912, at *5; Advanced Bionics, 2020

WL 740292, at *3.

      For the avoidance of doubt, it is not enough for Petitioner to assert that the

challenged patent is obvious in light of the prior art. See Roku, 2021 WL 2123912,

at *5. Rather, a petitioner must adequately explain how any “alleged demonstration

of obviousness” shows the examiner made an error material to the patentability of

the claims. Id. Indeed, Roku found that it was within the Board’s discretion to deny

institution when the petitioner had ample opportunity to discuss the BD Factors, “but

did not adequately address the analysis.” Id.

      Nor is it enough that Petitioner’s unpatentability grounds cite the testimony

of its expert Dr. Joseph Akar. Merely pointing to expert testimony without further

analysis fails to establish that the examiner materially erred. See Nespresso, 2022


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WL 214445, at *14 (merely stating an obviousness analysis supported by expert

testimony without providing any further analysis is insufficient to show the Office

materially erred); see also Becton, Dickinson, 2017 WL 6405100, at *9 (expert

testimony was entitled to little or no weight because it failed to provide probative

evidence). Regardless, as discussed in Section VI.B.1 below, Dr. Akar’s testimony

has no credible value.

      Petitioner’s omission is particularly glaring given that Patent Owner informed

Petitioner that the patent examiner had considered substantially similar art to Mazar,

and it provided this notice over half a year before Petitioner filed its Petition. (See

Petition Ex. 1018 at 2.) As in Roku, Petitioner had ample opportunity to address the

Advanced Bionics test, and it had prior warning that the asserted art was previously

considered by the Office. (See id.) Indeed, not only did Petitioner ignore the issue,

it made the misleading statement that “[n]one of the references on which [the

asserted] grounds are based was applied by the Examiner during prosecution of the

’743 patent.” (Petition at 5.) Regardless, even though it was aware of the § 325(d)

issue, Petitioner decided not to address it, leaving the Board to fill in the blanks of

its arguments. (See generally Petition.)

      Consequently, the Board should exercise its discretion under 35 U.S.C.

§ 325(d) and deny institution of the Petition given (i) the substantial similarity

between the previously considered Oster, Yang Parent, and Mazar ’841 references


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and the currently asserted Oster, Yang, and Mazar references and (ii) Petitioner’s

failure to show material error by the Office under the prior consideration, especially

when Petitioner knew the issue was ripe.

V.    INSTITUTION SHOULD BE DENIED BECAUSE PETITIONER
      FAILED TO SUPPORT ITS DEFINITION OF A PERSON OF
      ORDINARY SKILL

      Institution should be denied under 35 U.S.C. § 314(a) because Petitioner fails

to provide any evidence supporting its definition of a person of ordinary skill in the

art (“POSITA”), which is a critical factual issue given that the Petition relies

exclusively on obviousness grounds. As is explained in Section VI below,

Petitioner’s definition is substantively wrong, but the Board need not reach that

issue, because Petitioner’s evidentiary failure alone justifies non-institution.

      The Board may not authorize institution of an inter partes review unless the

petition shows that there is “a reasonable likelihood that the petitioner would prevail

with respect to at least 1 of the claims challenged in the petition.” 35 U.S.C. § 314(a).

To prevail under an obviousness theory—the only grounds asserted in the Petition—

Petitioner must demonstrate unpatentability under the Graham factors, which

include (among other things) “the level of skill in the art.” Graham v. John Deere

Co. of Kansas City, 383 U.S. 1, 17–18 (1966). A Petition that relies on mere

conclusions and attorney argument, rather than evidence, cannot demonstrate a




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reasonable likelihood of prevailing. See Xerox Corp. v. Bytemark, Inc., IPR2022-

00624, 2022 WL 3648989, at *6 (PTAB Aug. 24, 2022) (precedential).

      The Petition asserts that the relevant field is “electrocardiographic

monitoring.” (Petition at 8.) Petitioner and its expert, Dr. Joseph Akar, offer two

alternate sets of POSITA qualifications: (i) an education requirement (a “bachelor’s

degree” in one of several medical disciplines or electrical engineering) with two to

three years of “clinical experience in the field of biomedical engineering;” or (ii)

several years of “medical work” with “knowledge of the electronic design and

operation of cardiac monitoring technologies.” (Petition at 5–6.) On their face,

Petitioner’s definitions are so broad that they would qualify a person as a POSITA

in the field of electrocardiographic monitoring even if he or she was a non-engineer

that lacks experience designing electrocardiographic monitors or any other type of

medical device.

      The Board is left guessing how Petitioner and Dr. Akar reached this

conclusion, so the Board should deny institution. To determine the level of ordinary

skill in the art, one may consider factors such as “(1) the educational level of the

inventor; (2) type of problems encountered in the art; (3) prior art solutions to those

problems; (4) rapidity with which innovations are made; (5) sophistication of the

technology; and (6) educational level of active workers in the field.” Daiichi Sankyo

Co. v. Apotex, Inc., 501 F.3d 1254, 1256 (Fed. Cir. 2007) (internal quotation marks


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omitted). Yet neither Petitioner nor Dr. Akar discusses any of these factors or any

other factors that may be relevant to the POSITA inquiry. (Petition at 5–6; Ex. 1002

¶ 43.) Instead, Petitioner merely asserts its POSITA definition without any

explanation, with only a citation to Dr. Akar’s declaration for support. (Petition at

5–6.) Dr. Akar simply parrots the definition in the Petition and provides no

explanation of how he reached this conclusion. (Id. ¶ 43.)

      Because Petitioner and Dr. Akar provide no explanation or supporting

evidence for their POSITA definition—they just assert it—the Board lacks evidence

upon which the Board can accept Petitioner’s definition. The Board must rely on

evidence, not conclusory, unsupported statements. 37 C.F.R. § 42.65 (“Expert

testimony that does not disclose the underlying facts or data on which the opinion is

based is entitled to little or no weight.”). Lacking any evidence supporting this

required Graham factor, the Board should deny institution. See TQ Delta, LLC v.

CISCO Sys., Inc., 942 F.3d 1352, 1360–63 (Fed. Cir. 2019) (overruling Board

obviousness determination because only conclusory expert statements supported

what a POSITA would have done); see also Xerox, 2022 WL 3648989, at *6

(denying institution and holding that expert opinions that merely parrot allegations

in the petition should be given little to no weight).




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VI.   INSTITUTION SHOULD BE DENIED BECAUSE PETITIONER’S
      EXPERT IS NOT COMPETENT TO OPINE ON KEY OBVIOUSNESS
      ISSUES, AND PETITIONER HAS NO OTHER RELEVANT
      EVIDENCE

      Institution should be denied under 35 U.S.C. § 314(a) because the Petition

asserts exclusively obviousness grounds to support institution, yet the Petition offers

no credible evidence that a person of ordinary skill would have a reason to combine

the prior art to create the inventions claimed by the ’743 Patent. Petitioner’s only

reason-to-combine evidence comes from the testimony of Dr. Joseph Akar, but Dr.

Akar is not (and never was) a person of ordinary skill in the relevant art, so his

opinions are not credible. Lacking any other reason-to-combine evidence—for

example, there is no teaching, suggestion, or motivation to combine in the prior art

references themselves—the Petition’s only grounds fail. Lacking credible evidence

of reasons to combine, the Petition necessarily does not demonstrate a reasonable

likelihood of success, so institution should be denied.

      A.     A Person of Ordinary Skill in the Art for the ’743 Patent.

             1.     A person of ordinary skill in the art has relevant design
                    experience.

      As Dr. Reinhall explains, a person of ordinary skill in the art at the time of the

of the ’743 Patent’s inventions would be (a) a person with a degree in mechanical

engineering, electrical engineering, or an equivalent degree, with at least six months

experience designing medical devices that include electrical components (hereafter



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“e-medical devices”); or (b) a person without the foregoing engineering education,

but who achieved similar knowledge through approximately five years’ experience

designing e-medical devices. (Ex. 2001 ¶ 31.)2 To determine the level of ordinary

skill in the art, the Board may consider factors such (i) as the educational level of

the inventor and (ii) the type of problems encountered in the art. Daiichi, 501 F.3d

at 1256.

        First, the backgrounds of the ’743 Patent’s named inventors support Patent

Owner’s POSITA definition, including the requirement for at least some experience

designing e-medical devices. As shown by their prior applications, inventors Jason

Felix, Jon Bishay, and Gust Bardy all had several years of relevant design experience

before tackling the problems addressed by the ’743 Patent and conceiving of its

inventions. (See, e.g., Ex. 2006, U.S. Patent No. D639,437 (filed October 8, 2010);

Ex. 2007, U.S. Patent No. 8,285,370 (filed October 8, 2010.) The inventors’

experience designing e-medical devices supports Patent Owner’s definition of a

POSITA as having some experience designing e-medical devices. See Daiichi, 501

F.3d at 1257 (finding that the inventors all being specialists involved in the

development of drug and ear treatments supported a finding that a POSITA would



2
    As noted by Dr. Reinhall, a biomedical engineering degree may be an equivalent

degree depending on the coursework of the program. (Ex. 2001 ¶ 31 n.1.)


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be a person engaged in developing pharmaceutical formulations, as opposed to

merely a physician who has familiarity with such formulations).

      Second, the problems encountered in the art are engineering problems that

could not be addressed by someone with neither an engineering degree nor any

experience designing e-medical devices. The level of ordinary skill in the art should

coincide with the education, training, and experience of a person who would be

capable of addressing the problems encountered in the art (albeit in non-inventive

ways). Daiichi, 501 F.3d at 1257; DyStar Textilfarben GmbH & Co. Deutschland

KG v. C.H. Patrick Co., 464 F.3d 1356, 1362 (Fed. Cir. 2006).

      As explained by Dr. Reinhall, the disclosures of the ’743 Patent—including

disclosures acknowledged by Petitioner—show that the problems encountered in the

art “are engineering problems involving issues such as compressional, tensile,

torsional, and shear forces; material properties; electrical power consumption;

circuits; and electrical hardware architectures, and component configurations and

layouts.” (Ex. 2001 ¶ 33.) Consider the following:

      • The ’743 Patent criticizes prior art ECG monitoring devices for being

         arduous to employ, cumbersome, and expensive—problems that Dr.

         Reinhall explains go to the shapes of the devices, the layouts and

         configurations of components on the device, their electrical hardware




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         architectures, and the types of hardware components utilized. (Ex. 1001

         at 1:6–2:2, 2:50–57; Ex. 2001 ¶ 34; see also Petition at 9.)

      • The ’743 Patent describes problems with prior art ECG monitoring devices

         lacking adequate battery capacity. (Ex. 1001 at 3:8–11.) “Lack of adequate

         battery capacity arises from, among other things, size constraints in the

         devices, hardware selection, the layout of the circuitry, sampling rate, and

         the amount and frequency of power being drawn from the battery by the

         various components that require power.” (Ex. 2001 ¶ 35.) Battery capacity

         implicates competing design considerations regarding battery power,

         circuitry layout, the types and number of electrical components, and

         functions of electrical components. (Id.)

      • The ’743 Patent describes problems with prior art ECG monitoring devices

         not being adequately waterproofed, which involves whether or how the

         electronics are housed. (Ex. 1001 at 3:11–14; Ex. 2001 ¶ 36.)

      • The ’743 Patent also recognizes that “a need remains for an extended wear

         continuously recording ECG monitor practically capable of being worn for

         a long period of time in both men and women” and for integrating “wider-

         ranging physiological and ‘life tracking’-type data into long-term ECG and

         physiological data monitoring.” (Ex. 1001 at 1:36–42; see also Petition at

         9–10.) According to Dr. Reinhall, “[a]ddressing those needs presents


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          challenging engineering problems because extending the sensing time of

          an ECG monitor is at odds with adding sensing and processing capabilities

          and memory capacity, as those functions require more, not less, energy

          consumption.” (Ex. 2001 ¶ 37.) Moreover, adding functionalities to the

          device may require additional components or components of larger sizes,

          which would make maintaining the device on the patient for an extended

          period time more problematic. (Id.)

      • Furthermore, the ’743 Patent describes the problems arising from “various

          compressional, tensile, and torsional forces” that can dislodge electrodes—

          an engineering problem that is particularly complex in light of the dynamic

          environmental and physical conditions presented by the device being

          attached to skin, the characteristics and properties of which vary from

          patient to patient. (Ex. 1001 at 2:9–23; Ex. 2001 ¶ 38.)

The prior art also identifies technical, engineering problems related to the design and

structure of relevant cardiac monitoring devices, such as the following:

      • As explained by Dr. Reinhall, Mazar recognizes problems with the

          configurations, materials, and mechanical properties of the prior art

          devices, and the resulting challenges posed by the forces being applied to

          them during use, criticizing prior art devices as “bulky and

          uncomfortable,” “cumbersome,” having “excessive weight,” being stiff,


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         and un-adhering from the patient during use. (Ex. 1003 at ¶¶ [0003]–

         [0004]; Ex. 2001 ¶ 39; see also Petition at 17.)

      • Mazar recognizes the struggles of artisans in balancing the energy

         demands and constraints of the devices, describing the prior art as having

         problems with “energy consumption.” (Ex. 1003 at ¶ [0004]; Ex. 2001 ¶

         41.)

      • Yang identifies the problems caused by various forces affecting prior art

         devices during use, explaining that ECG monitoring devices “are subject

         to repeated use and high wear and tear.” (Ex. 1005 at 1:27–37; Ex. 2001 ¶

         42; see also Petition at 23.)

      • U.S. Patent No. 5,862,803 (“Besson”) describes prior art cardiac

         monitoring devices having cables that “obstruct the patient and highly limit

         his or her freedom of movement” and, “due to the stiffness of the cables

         and the lever forces connected therewith, the cables become easily

         detached particularly when the patient moves.” (Ex. 1008 at 1:46–52; Ex.

         2001 ¶ 43.) As Dr. Reinhall explains, those issues reflect problematic

         device layouts and their failures to withstand the forces applied during use.

         (Ex. 2001 ¶¶ 34, 37–38.)




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      • Besson describes problems with battery life due to the demands on the

         battery from the processing, recording, and transmitting components. (Ex.

         1008 at 2:44–49; Ex. 2001 ¶ 44.)

      • International Publication No. WO 2008/005015 (“Shennib”) describes the

         problem of prior art devices being unable to provide power for sufficient

         amounts of time. (Ex. 1013 at ¶ [0011]; Ex. 2001 ¶ 45.)

      • Shennib recognizes problems with cardiac monitoring device layouts and

         configurations, calling them “bulky,” expensive, and uncomfortable. (Ex.

         1013 ¶¶ [0009]–[0010]; Ex. 2001 ¶ 46.)

      • U.S. Patent No. 7,206,630 (“Tarler”) describes a litany of drawbacks in

         prior art devices. As Dr. Reinhall explains, the drawbacks discussed in

         Tarler arise from problematic device layouts and configurations, material

         properties, and “unique power requirements,” describing rigidity of the

         devices preventing “good electrode contact,” device cumbersomeness, and

         problems delivering sufficient power to all desired components. (Ex. 1014

         at 2:51–3:3 Ex. 2001 ¶ 47.)

      As Dr. Reinhall explains in greater detail, mechanical and electrical engineers

receive specific education and training in mechanics, material properties, power

consumption, circuitry, and electrical hardware architectures, and they could apply

that education and training to try to develop solutions to the problems encountered


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in art, particularly after obtaining some experience with e-medical devices such as

cardiac monitoring devices. (Ex. 2001 ¶¶ 48–54.) For example, mechanical and

electrical engineers receive specific education and training on energy efficiency,

how structures move when subjected to forces, manufacturing, and material science.

(Id. ¶¶ 50–52.) This specific education and training allows them to address

engineering problems by giving them the tools to identify, calculate, and reduce the

effects of forces applied to structures during use, reduce unnecessary power loses,

select appropriate materials, and more. (Id. ¶¶ 49, 52.) Without those tools, a person

would not be able to address the problems encountered in the art. (See id. ¶¶ 53–62,

65-69.)

      Thus, in order to address the problems identified by the ’743 Patent and related

prior art, a POSITA would need to have the technical knowledge that comes with an

engineering education and experience in e-medical devices, or real-world design

experience with e-medical devices that would provide similar technical know-how.

             2.     Medical professionals without relevant design experience are
                    not persons of ordinary skill in the art.

      While Patent Owner’s and Petitioner’s POSITA definitions diverge in several

ways, the key issue at this stage is whether Petitioner is correct that a person with no

experience designing e-medical devices such as cardiac monitoring devices can

qualify as a POSITA. Petitioner is wrong.




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        Petitioner’s definition should be rejected because it includes medical

professionals and other persons with no experience whatsoever designing any type

of medical device. Petitioner and Dr. Akar offer two alternate sets of POSITA

qualifications: (i) an education requirement (a “bachelor’s degree” from one of

several medical disciplines or electrical engineering) with two to three years of

“clinical experience in the field of biomedical engineering;” or (ii) several years of

“medical work” with “knowledge of the electronic design and operation of cardiac

monitoring technologies.” (Petition at 5–6.) Even if one were to read Dr. Akar’s

definition as narrowly as possible, it covers persons such as Dr. Akar—who has

experience using electrocardiographic devices on patients—but does not require any

experience actually designing cardiac monitoring devices or any other kind of e-

medical device. (Petition at 5–6; Ex. 1002 ¶ 43; Ex. 2001 ¶ 63, 67-69.)3



3
    Dr. Akar’s definition is much broader than this narrow reading and considers

individuals with no experience in the mechanical or electrical arts to be POSITAs.

His definition (via its second prong) would cover essentially all cardiac nurses and

cardiologists in the United States who are familiar with the general design and

operation of the cardiac monitoring equipment they use in their clinics and hospitals

on a daily basis. (Ex. 2001 ¶ 69.) Dr. Akar’s definition would also cover (via its first

prong) a person having “clinical” experience in the field of “biomedical


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      As discussed above in Section V, the Board is left guessing how Petitioner

and Dr. Akar reached this conclusion because they provide no explanation or

evidentiary support, so the Board should reject their POSITA definition. See TQ

Delta, 942 F.3d at 1360–63; Xerox, 2022 WL 3648989, at *6; 37 C.F.R. § 42.65.

      But, moving on to the substance of the definition, the reason Petitioner and

Dr. Akar provide no support for their POSITA definition is likely because it is

unsupportable. In Section VI.A.1 above, Patent Owner demonstrated why design

experience is required, including because the problems encountered in the art are

engineering problems involving issues such as compressional, tensile, torsional, and

shear forces; material properties; electrical power consumption; circuits; and

electrical hardware architectures. (See Section VI.A.1.) Additionally, and for the

avoidance of doubt, a physician or medical worker without experience designing e-

medical devices is not capable of understanding and addressing these problems, and

therefore cannot qualify as a POSITA. (Ex. 2001 ¶¶ 55–69.) Such medical

professionals may understand the need for ECG monitoring devices to be less bulky,

more comfortable, and last longer after receiving feedback from patients or



engineering,” but “clinical experience” involves patient care, and biomedical

engineering is a huge field that covers disparate technologies ranging from stem cell

research to bone implants. (Id. ¶¶ 65–68.)


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reviewing outputs from the devices, but they would not possess the knowledge,

training and experience necessary to design a device that addresses these needs (e.g.,

to create a device’s electrical hardware or architecture, to modify the size or shape

of device, reduce the compressional, tensile, and torsional forces that can dislodge

its electrodes, or make a device more energy efficient). (Id. ¶¶ 58–62, 69.) 4

        Dr. Reinhall’s opinions are supported by his direct, day-to-day experience

with the University of Washington’s Engineering Innovation in Health Program

(“Innovation in Health Program”) as well as other collaborations with hospitals and

medical device companies. (Id. ¶¶ 55–62.) In the Innovation in Health Program, Dr.

Reinhall, other engineering faculty members, and his engineering students work

together to develop medical devices that address the problems and needs of medical



4
    To the extent Dr. Reinhall’s declaration creates factual disputes with Dr. Akar’s

declaration or the Petition, Petitioner is not entitled to any presumption in its favor.

See 37 CFR § 42.108(c); 85 FR 79120 at 79120, 79122 (noting that Section

42.108(c) was revised “to eliminate the presumption that a genuine issue of material

fact created by the patent owner’s testimonial evidence filed with a preliminary

response will be viewed in the light most favorable to the petitioner for purposes of

deciding        whether      to    institute     a     review”),       available      at

https://www.govinfo.gov/content/pkg/FR-2020-12-09/pdf/2020-27048.pdf.


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professionals from the University of Washington’s School of Medicine and

elsewhere. (Id. ¶ 56.) Since its founding, Dr. Reinhall has overseen over 65 medical

device design projects, all of which resulted in the development of a prototype

device. (Id. ¶¶ 12, 57.) For each of those projects, a medical professional approached

the engineering department at the University of Washington to design a medical

device based on an identified problem or need. (Id.) Without exception in Dr.

Reinhall’s experience, the medical professionals who lack extensive experience

designing medical devices have not provided any workable design solutions because

they lack the skills necessary to do so. (Id. ¶¶ 58–62.) Instead, the medical

professionals only provide clinical and medical information and background

information on the problem or need, and they turn to Dr. Reinhall, his engineering

colleagues, and their engineering students for all aspects of the design of the devices.

(Id.)

        Dr. Reinhall’s specific experience further illustrates the importance of an

engineering education and experience in designing medical devices. In one project,

Dr. Reinhall, along with another engineer, designed an improved endoscope, which

is a device that is inserted into the human body and used to view body cavities and

organs. (Id. ¶¶ 19, 60.) The project began with a need similar to those encountered

in the art here: to try to make an e-medical device less bulky. (Id.) At the time,

existing endoscopes employed many fiberoptic cables, along with other electrical


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and mechanical components, so they required relatively large diameter housings that

prevented endoscopes from fitting into many places. (Id.)

      The physicians with whom Dr. Reinhall worked on that project were aware of

the problems with existing endoscopes and explained that physicians needed an

endoscope that was small enough to be inserted into smaller parts of the body, but

they did not offer any design solutions to those problems because they lacked

engineering skills. (Id.) The physicians—although they were knowledgeable about

endoscopes through their medical practice—did not know how to reconfigure or

change electrical components of an endoscope to make the endoscope thinner. (Id.)

Dr. Reinhall and his engineering colleague were able to come up with a solution that

reduced the number of fiberoptic cables in the device because Dr. Reinhall and his

engineering colleague had engineering skills through their engineering education,

training, and experience. (Id.)

      For another project, an intestinal surgeon approached the Innovation in Health

Program after noticing that reconnecting intestines via stitching was time consuming

and sometimes resulted in inadequate connections that leaked, leading to infections.

(Id. ¶ 59.) The surgeon asked for help developing an alternative way to reattach

intestines that did not involve stitching. (Id.) While the surgeon understood what the

human body could withstand, where risks of infections may arise, how the intestines

heal over time, existing techniques and devices, and other medical and biological


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information, he lacked knowledge in engineering fundamentals and the basic

engineering skills that were necessary to design a device that could act as an

alternative to stitches. (Id.) As a result, he did not provide any design solutions

during the pendency of the project. (Id.) Meanwhile, Dr. Reinhall, other members

of the engineering faculty, and engineering students under the guidance of Dr.

Reinhall and the faculty members developed a prototype device that was faster,

safer, and more effective than stitching. (Id.)

      Through his experience with the Innovation in Health Program and in his

collaboration with hospitals and medical device companies, Dr. Reinhall has seen

firsthand that physicians are unable to come up with engineering solutions to

problems identified in the art. (Id. ¶ 61.) Indeed, physicians’ inability to address

problems in the art is the very reason they approach the Innovation in Health

Program in the first place. (Id.) Physicians need the help of engineers to develop

medical devices because they lack the skills to do so themselves. (Id.¶ 62.) In Dr.

Reinhall’s experience, if a physician becomes part of the team working to develop

or improve devices, their involvement is limited to providing clinical information

and insight into patient preferences and treatment needs. (See id.)

      Federal Circuit law fully supports Patent Owner’s and Dr. Reinhall’s POSITA

definition (which requires experience designing devices) and defeats Petitioner’s

and Dr. Akar’s definition (which covers medical practitioners who are merely


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familiar with devices though clinical use). In Daiichi, prior art antibiotic treatments

for ear infections caused damage to the ear, and the invention was a new antibiotic

compound that would eliminate that problem. 501 F.3d at 1257. The parties disputed

whether a POSITA would be (a) a doctor who has experience treating ear infections

and possessed some pharmacological knowledge or (b) a person engaged in

developing new pharmaceuticals or who has special training in pharmaceutical

formulations. Id. at 1256. The Federal Circuit recognized that although a doctor may

have knowledge about treating ear infections and prescribing medications to treat

them in the course of their medical practice, doctors would not have the training or

knowledge to develop new antibiotic compounds that would address the problems

with existing formulations. Id. at 1256–57. As a result, the Federal Circuit held that

the level of ordinary skill in the art would be that of a person engaged in developing

pharmaceutical formulations or an ear treatment specialist who also had specialty

training in pharmaceutical formulations. Id.; see also DyStar, 464 F.3d at 1362–63

(for process for dying textile materials, POSITA required knowledge of chemistry

and systems engineering, not merely experience using dying processes to dye

textiles).

       Therefore, like in Daiichi and Dystar, the problems encountered in the art

demonstrate that a POSITA must be a designer—not a mere user—of e-medical

devices such as cardiac monitoring devices.


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       B.     The Petition is Devoid of Evidence Showing Why a POSITA Would
              Combine the Prior Art, so Petitioner Fails to Establish
              Obviousness.

       The POSITA definition is critical here because Petitioner’s only testimony on

key topics—reasons to combine prior art references—comes from Dr. Akar, who is

unqualified to give credible opinions. Without his testimony, Petitioner has nothing

left, and the Petition fails.

              1.     Dr. Akar is not qualified to give testimony from the
                     perspective of a person of ordinary skill in the art.

       The Board cannot rely on Dr. Akar’s opinions on obviousness because he—a

physician with no experience designing any type of e-medical device, including

cardiac monitoring devices—is not qualified to testify from the perspective of a

POSITA. See Kyocera Senco Indus. Tools Inc. v. Int'l Trade Comm'n, 22 F.4th 1369,

1376 (Fed. Cir. 2022) (abuse of discretion to allow testimony on any issue analyzed

through the lens of a POSITA from a witness who lacked the experience necessary

to qualify as a POSITA). The Board therefore cannot rely on his testimony on any

such topics. Avail Medsystems, Inc. v. Teladoc Health, Inc., No. IPR2022-00444,

2022 WL 2903454, at *10 (PTAB July 21, 2022) (denying institution upon finding

Petitioner’s expert unqualified to opine on all issues analyzed through the lens of a

POSITA).

       Dr. Akar admits that he is “a medical professional by training and profession”

who has never “personally designed ECG monitoring systems from an engineering


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standpoint.” (Ex. 1002 ¶¶ 22, 34.) Indeed, his declaration and curriculum vitae

demonstrate that he has no experience designing any type of e-medical device. (Ex.

1002 ¶¶ 4–22; Ex. 1006.)5 Without any experience designing cardiac monitoring

devices or any other type of e-medical device, Dr. Akar lacks the experience

necessary to qualify as a POSITA, so his opinions regarding how or why a person

of ordinary skill in the art would combine or modify prior art must be disregarded.

“To offer testimony from the perspective of a skilled artisan in a patent case—like

for claim construction, validity, or infringement—a witness must at least have

ordinary skill in the art.” Kyocera, 22 F.4th at 1376–77; see also Best Med. Int’l,

Inc. v. Eleckta Inc., 46 F.4th 1346, 1353–54 (Fed. Cir. 2022) (affirming Board’s

decision to discount expert after finding that POSITA would have “formal computer

programming experience” and the expert did not); Avail Medsystems, 2022 WL



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    Indeed, Dr. Akar is named on only one U.S. patent application, which does not

disclose or claim any sort of new device or apparatus. (See Ex. 1006 at 11 (citing

US20150023873); Ex. 2005 at 1 (abstract), 70–71 (claims).) Instead, his application

concerns methods of diagnosing and treating medical conditions, namely methods

of assessing whether a patient has an increased risk of developing atrial fibrillation,

or the likelihood of responding to particular atrial fibrillation therapies, based on the

level of imaging agent identified in the heart. (See id.)


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2903454, at *10–11 (denying institution after refusing to give any weight to expert

witness’s opinions “regarding what a skilled artisan would have understood and/or

derived from the disclosed technology” where the witness lacked experience in

designing or engineering teleconferencing systems).

      The facts here are similar to the facts in Kyocera. There, the definition of a

POSITA required at least two years of experience “designing power nailers.”

Kyocera, 22 F.4th at 1376. The petitioner’s expert had “advanced degrees in

engineering and extensive experience in the design and manufacture of fastener

driving tools,” but he lacked experience in power nailer design. Id. As a result,

despite his impressive qualifications, the expert did not qualify as a POSITA, so the

Federal Circuit found that the administrative law judge abused his discretion in

admitting testimony from the expert on any issue analyzed from the perspective of

a POSITA. Id. at 1377–78.

      Like the expert in Kyocera who lacked the power nailer design experience

necessary to qualify as a POSITA, Dr. Akar lacks the device design experience

necessary to qualify as a POSITA here. As a result, the Board cannot rely on any of

his opinions that are made from the perspective of a POSITA, including his opinions

as to how or why a POSITA would modify or combine Mazar, Yang, or Oster.




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             2.    Petitioner cannot establish obviousness because the Petition
                   is devoid of reason-to-combine evidence.

      Both of Petitioner’s unpatentability grounds fail because they assert

obviousness over prior art references without providing any credible evidence that

there would have been a reason to combine those references. When a patent

challenger alleges that an invention claims an obvious combination of known

elements from multiple prior art references, the challenger must prove that there was

a “reason to combine the known elements in the fashion claimed by the patent at

issue.” See TriMed, Inc. v. Stryker Corp., 608 F.3d 1333, 1341 (Fed. Cir. 2010)

(citing KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398 (2007)) (emphasis added).

Whether there is a reason to combine prior art references is a question of fact, and

where there is no competent evidence establishing a reason to combine, then there

can be no finding of obviousness. Kinetic Concepts, Inc. v. Smith & Nephew, Inc.,

688 F.3d 1342, 1367 (Fed. Cir. 2012).

      Because both of the Petition’s grounds assert obviousness, it is critical for

Petitioner to establish that a person of ordinary skill in the art—an actual POSITA,

not the baseless one asserted by Petitioner—would have a reason to combine Mazar

and Yang (Ground I) or Oster and Yang (Ground II) to produce the ’743 Patent’s

claimed inventions. But its only evidence comes from the discredited testimony of

Dr. Akar. For example, in Ground I, Petitioner relies exclusively on Dr. Akar to

reach the following conclusions from the perspective of a POSITA:

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      • “[A] POSITA would understand” certain teachings in Mazar to be

         “optional,” and a POSITA would recognize that “the failure to secure the

         printed circuit board to the backing could result in discomfort” or

         “introduce wear or tears in the backing.” (Ex. 1002 ¶ 142.)

      • That “putting the battery on the ends of the backing, rather than the middle,

         is a simple design choice that can be readily selected by a POSITA.” (Id.)

      • “A POSITA would readily understand that Yang’s teaching to reuse

         elements of the patch (such as electronics) and replace other elements of

         the patch (such as the battery and the patch body), would improve the cost

         effectiveness of a disposable portion of a health monitoring device, such

         as that of Mazar . . . and create a product that is less wasteful.” (Id. ¶ 143.)

(See Petition at 40–43.) Similarly, in Ground II, Petitioner relies exclusively on Dr.

Akar to reach the following conclusions from the perspective of a POSITA:

         • “[A] POSITA would understand that it is obvious to use a battery to

             power the wireless electronic monitoring systems such as Oster”

             because Yang “expressly discloses a battery 318 positioned directly on

             one end of the backing of the adherent patch,” and “common sense

             dictates that the most obvious placement of the battery in Oster would

             be on one of its ends within one of its nodes, which provide the

             necessary space.” (Ex. 1002 ¶ 197.)


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         • “A POSITA would readily understand that Yang’s teaching to reuse

            elements of the patch (such as the electronics) and replace other

            elements of the patch (such as the battery and the patch body), would

            improve the cost effectiveness of a disposable portion of a health

            monitoring device, such as that of Oster . . . .” (Id. at ¶ 198.)

         • “Placing a battery as taught by Yang into one of the ends of the Oster

            patch would be a simple matter of packing well-understood

            components, which would be a routine and predictable for a POSITA.”

            (Id.)

(See Petition at 65–68.) Each of those argument-critical opinions are supposedly

made (as they must be) from the perspective of a POSITA, but the Board cannot rely

on them because of Dr. Akar’s lack of qualifications. See Kyocera, 22 F.4th at 1377–

78.

      Consequently, because obviousness requires a showing of a reason to combine

by a POSITA, and because Petitioner’s only reason-to-combine evidence comes

from a non-POSITA incapable of giving credible testimony, Petitioner cannot

establish obviousness. As a result, the Petition fails to demonstrate a reasonable

likelihood of success. The Board should therefore deny institution.




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VII. CONCLUSION

      For the foregoing reasons, the Board should decline to institute inter partes

review of the ’743 Patent.




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                           CERTIFICATE OF SERVICE

      I hereby certify on April 24, 2023, that a true and correct copy of Patent

Owner’s Preliminary Response and Exhibits 2001–2007 were served in their entirety

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